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MSE
AO 442 (Rev. 11/11) Arrest Warrant                                                                                                  2020R00251



                                      UNITED STATES DISTRICT COURT
                                                                  for the
                                                          District of Minnesota

    UNITED STATES OF AMERICA

                          v.
                                                                              Case No. 20-mj-365 HB
    (2) BAILEY MARIE BALDUS

                                                          ARREST WARRANT
 To:        Any authorized law enforcement officer

         YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested) BAILEY MARIE BALDUS
who is accused of an offense or violation based on the following document filed with the court:

         Indictment              Superseding Indictment        Information         Superseding Information X            Complaint
         Probation Violation Petition         Supervised Release Violation Petition          Violation Notice            Order of the Court

On or about May 28, 2020, in St. Paul, in the State and District of Minnesota, the defendants MCKENZY ANN DEGIDIO DUNN
and BAILEY MARIE BALDUS conspired with Samuel Elliott Frey and Co-Conspirator CF to commit arson on property used in
interstate commerce, in violation of Title 18, United States Code, 844(i), all in violation of Title 18, United States Code, Section
371.

    Date:     ________________________


    City and State: St. Paul, MN                                        The Honorable Hildy Bowbeer
                                                                        United States Magistrate Judge
                                                                                              Printed Name and Title


                                                                     Return

             This warrant was received on (date)                          , and the person was arrested on (date)
   at (city and state)                                           .

   Date:

                                                                                               Printed name and title
